         Case 1:15-cv-04025-ER Document 390 Filed 11/05/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ABKCO MUSIC, INC., COLGEMS-EMI MUSIC,
INC., EMI ALGEE MUSIC CORP., EMI APRIL
MUSIC INC., EMI BLACKWOOD MUSIC, INC.,
EMI CONSORTIUM MUSIC PUBLISHING, INC.
d/b/a EMI FULL KEEL MUSIC, EMI CONSORTIUM
SONGS, INC. d/b/a EMI LONGITUDE MUSIC, EMI
FEIST CATALOG INC., EMI ROBBINS CATALOG
INC., EMI UNART CATALOG, INC., JOBETE
MUSIC CO., INC., SCREEN-GEMS-EMI MUSIC
INC., STONE AGATE MUSIC, STONE DIAMOND
MUSIC CORP., RODGERS & HAMMERSTEIN
HOLDINGS LLC, PEER INTERNATIONAL
CORPORATION, PSO LIMITED, PEERMUSIC
LTD., PEERMUSIC III, LTD., SONGS OF PEER,                        OPINION AND ORDER
LTD., SPIRIT CATALOG HOLDINGS S.A.R.L.,
TOWSER TUNES, INC., TOWSER NEWCO LTD.,                            15 Civ. 4025 (ER) (SLC)
SPIRIT TWO MUSIC, INC., WARNER-
TAMERLANE PUBLISHING CORP., and WB
MUSIC CORP.,
                        Plaintiffs/Counterclaim-
                        Defendants,

                       – against –

WILLIAM SAGAN, NORTON LLC, BILL GRAHAM
ARCHIVES, LLC d/b/a WOLFGANG’S VAULT,
BILL GRAHAM ARCHIVES, LLC d/b/a CONCERT
VAULT, BILL GRAHAM ARCHIVES, LLC d/b/a
MUSIC VAULT, and BILL GRAHAM ARCHIVES,
LLC d/b/a DAYTROTTER,

                              Defendants/Counterclaim-
                              Plaintiffs.



RAMOS, D.J.:

       Before the Court are Plaintiffs’ motions for attorneys’ fees and costs and for a new trial.

Docs 374, 377. For the reasons set forth in the companion Opinion, Plaintiffs’ motion for

attorney’s fees and costs is GRANTED, but with a reduced award, and Plaintiffs’ motion for a
         Case 1:15-cv-04025-ER Document 390 Filed 11/05/20 Page 2 of 2




new trial is DENIED. The Court has provided the companion Opinion to the parties to obtain

their views on whether certain materials are covered by a joint Confidentiality and Protective

Order, Doc. 41.

       The Clerk of the Court is respectfully directed to terminate the motions, Docs. 374, 377.



It is SO ORDERED.

Dated: November 5, 2020
New York, New York
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                                                             Edgardo Ramos, U.S.D.J.




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